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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,                Case No. 07 CR 410-17
                                                            07 CR 410-21
           v.
                                              Hon. Harry D. Leinenweber
MICHAEL SMITH and GREGORY
HARRIS,

                        Defendants.


                        MEMORANDUM OPINION AND ORDER

     On December 13, 2007, Defendants Gregory Harris (“Harris”) and

Michael Smith (“Smith”) were charged with drug trafficking offenses

relating   to   their    alleged     involvement    in   a   drug   trafficking

organization that operated between Chicago, Illinois, and Detroit,

Michigan. Now before the Court are Defendants’ Motions to Suppress

Evidence seized after two warrantless traffic stops on March 12,

2007, requests for an evidentiary hearing, and supplemental briefs.

The Government argues that the Court should deny Defendants’

motions to suppress without a hearing.               For the reasons stated

herein, the Court denies both the motions to suppress and the

requests for a hearing.

                                I.   BACKGROUND

                           A.   Factual Background

     In early 2007, based on information that cocaine would be

transported from Chicago to Detroit, undercover law enforcement
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agents began conducting surveillance at the home of Lois Buffington

(“Buffington”) in Chicago.         On March 12, 2007, at approximately

6:25 p.m., agents observed a blue 2007 Chrysler Pacifica with

Michigan plates (“the Pacifica”), which was registered to Harris,

arrive and park in front of the Buffington residence.                    Marvin

Inkton (“Inkton”) and Harris, who was carrying a white shopping

bag, exited the Pacifica and walked to the rear of the residence.

About ten minutes later, Harris and Inkton walked empty-handed from

the residence to the Pacifica and drove away.              Agents followed the

Pacifica to a gas station a few blocks away.              Shortly thereafter,

agents observed a green 2007 Chrysler Voyager with Michigan plates

(“the Voyager”), which was also registered to Harris, enter the gas

station.     Agents observed Harris and Inkton meet with Smith and

then depart the area in the vehicles. Surveillance agents followed

the Pacifica and the Voyager, which were traveling in tandem, to a

McDonald’s and then to I-94/I-80 as the two vehicles traveled

eastbound into Indiana.         While conducting this surveillance, the

agents obtained the assistance of Gary Police Department Officer

Jeff Hornyak (“Officer Hornyak”).              The agents informed Officer

Hornyak    that    they     believed    the    vehicles    were   transporting

narcotics.

                     1.     Traffic Stop of the Voyager

     Officer      Hornyak    observed    the    Pacifica    and   the   Voyager

traveling in tandem in excess of the posted speed limit.                   As a


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result, he initiated a traffic stop of the Voyager at approximately

7:22 p.m.    See Gary Police Dept. Dispatch Rep.             Officer Hornyak

obtained the Voyager’s registration and a Michigan driver’s license

from Smith, who had been driving the vehicle.                   Based on his

training, experience, and interactions with Smith, Officer Hornyak

believed that Smith was nervous during their conversation and was

providing deceptive answers to his questions about the purposes for

visiting Chicago and length of his stay.           Officer Hornyak returned

to his patrol car to issue a citation for speeding.                 Because he

believed that Smith was being dishonest and based on his knowledge

regarding the surveillance, at 7:35 p.m., Officer Hornyak called

Lake Station Police Department Officer Ronald Potrebic (“Officer

Potrebic”) to come to the scene with his narcotic’s detection

canine.   See Lake Station Police Dept. Incident Rep.; Lake Station

Police Dept. Dispatch Rep.

     Officer Hornyak then advised Smith of the contents of the

citation for speeding.       During this conversation, Officer Hornyak

determined that Smith appeared to be more nervous than at the

beginning of the traffic stop.        Officer Hornyak told Smith that he

was working drug interdiction and asked him if he had any weapons

or narcotics in the Voyager, to which Smith responded “I don’t have

anything on me.”     When Officer Hornyak asked for consent to search

the Voyager, Smith initially verbally consented but withdrew his

consent when given a consent form.


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     At 7:44 p.m., Officer Potrebic arrived at the scene of the

traffic stop with his canine.         See id.     When directed around the

outside of the Voyager, the canine gave positive alerts to the

presence of the odor of a controlled substance coming from the rear

passenger area.      Based on these alerts, the canine was deployed

inside the Voyager where it alerted again to the rear passenger

area.   Upon visual inspection, Officer Hornyak discovered a white

brick-like object, which he recognized as a kilogram of cocaine.

At this time, Officer Hornyak placed Smith in wrist restraints.

Law enforcement later recovered a total of 5.82 kilograms of

cocaine from the Voyager, two cellular telephones from Smith, and

a cellular telephone from inside the Voyager.

                   2.   Traffic Stop of the Pacifica

     At approximately 7:35 p.m., Drug Enforcement Agency Task Force

Agent Jeffrey Trevino (“Agent Trevino”) conducted a traffic stop of

the Pacifica on I-65 eastbound for speeding.              When this stop was

made, Inkton was driving the Pacifica, and Harris was in the

passenger’s seat.       After this stop, Ogden Dunes Police Officer

Wayne Dugan (“Officer Dugan”) was called to assist Agent Trevino.

According to Officer Dugan’s sworn testimony and the Ogden Dunes

records, Officer Dugan was dispatched at 7:43 p.m. and arrived on

the scene of the stop at 7:48 p.m.        See Dugan Aff. ¶ 2; Ogden Dunes

Police Dept. Dispatch Rep.




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      For safety reasons, Officer Dugan placed both Inkton and

Harris in the back seat of his patrol car while Agent Trevino

conducted his investigation.         Dugan Aff. ¶¶ 6-7.      According to his

affidavit, after putting both men in the back seat, Officer Dugan

activated his in-car dash mounted video recorder (“the video

camera”) and turned it around to face the subjects.                Id. at ¶ 8.

During the traffic stop, this video camera contained a time stamp

that did not reflect the accurate time.            The time stamp recorded

that the traffic stop had already begun as of 7:05 p.m.                 Officer

Dugan testified that both he and the Ogden Dunes Chief of Police

knew that the time stamp was incorrect during the traffic stop on

March 12, 2007.     Id. at ¶¶ 10-13.

      During the traffic stop of the Pacifica, Agent Trevino learned

from Officer Hornyak that packages of cocaine were discovered in

the   Voyager.     Based    on   this   discovery,    information     from   the

surveillance, and statements from Inkton and Harris that the

officers determined to be inconsistent, Agent Trevino detained both

Inkton and Harris and recovered six cellular telephones from the

Pacifica.

                           B.    Procedural History

      On January 2, 2008, Smith filed a motion to suppress evidence

seized from the Pacifica.         On February 12, 2008, Harris moved to

suppress evidence seized from both the Pacifica and the Voyager.

On April 11, 2008, the Court granted Defendants’ requests for an


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evidentiary hearing, which was scheduled for December 18, 2008.

This hearing was continued upon Defendants’ request after the

Government produced information that the time stamp on the video

camera in Officer Dugan’s patrol car was inaccurate.                Defendants

informed the Court that they intended to dispute the Government’s

time line related to the traffic stops.             The Court granted leave

for   Defendants    to    conduct    an    investigation      and   instructed

Defendants   to    file   affidavits      of   individuals   with   first-hand

knowledge and supplemental briefs regarding any remaining contested

issues of fact that necessitated a suppression hearing.

      On February 25, 2009, Harris filed a supplemental brief, which

was joined by Smith, and the affidavit of a criminal investigator,

William Rice (“Rice”).       Rice was not present at the traffic stops

in question, but was retained to investigate whether questions of

fact exist between the accounts of the Government and Defendants.

During his investigation, Rice reviewed the police reports, the

affidavit of Officer Dugan, and the video account of the traffic

stop of the Pacifica and concluded that Officer Dugan’s testimony

contained inaccuracies.       In his affidavit, Officer Dugan testified

that he put Harris and Inkton in the back seat of his patrol car,

activated the car’s video camera, and turned the camera to face the

back seat interior of the car.        See Dugan Aff. at ¶¶ 6-8.        Based on

Rice’s review, “the camera had been on before the subjects were

placed into the backseat of the car and that it remained facing the


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front of the vehicle for the entire 14 minutes that it ran.”                  Rice

Aff. ¶ 7.       Based on this conclusion, Defendants contend that

evidence from the video camera contradicts the Government’s account

of events with respect to the duration of the stop and creates a

question of material fact requiring an evidentiary hearing to

determine whether suppression is required.

     Defendants contend that their detentions during the traffic

stops and the searches of the vehicles violated their Fourth

Amendment rights.     Defendants argue that an evidentiary hearing on

the motions to suppress is required to resolve the disputes about

the timing and order of events.           Specifically, Smith argues that

the duration of his traffic stop was unlawfully extended without

reasonable articulable suspicion of further wrongdoing.                  Harris

argues   that   law   enforcement      agents    lacked   probable    cause    or

reasonable   suspicion     to   stop    and    detain   the   Pacifica   or   the

Voyager, to search each vehicle, and to arrest him.

     In response, the Government argues that Defendants’ motions

should be denied because they are unsupported by sworn statements

by Defendants or another person with first-hand knowledge of the

traffic stops.     The Government also contends that Defendants have

failed to raise a dispute of material fact as to the length of the

traffic stops or as to the legality of the traffic stops and

seizures.




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                               II.    ANALYSIS

      “A defendant who seeks to suppress evidence bears the burden

of making a prima facie showing of illegality.”               U.S. v. Randle,

966 F.2d 1209, 1212 (7th Cir., 1992).            In order to satisfy this

burden, a proponent of a motion to suppress must show “definite,

specific, detailed, and nonconjectural facts that justify relief.”

Id.   “Reliance on vague, conclusory allegations is insufficient.”

Id.   If an evidentiary hearing on a motion to suppress is sought,

the defendant must show disputed issues of material fact as to how

the evidence in question was obtained.           U.S. v. Villegas, 388 F.3d

317, 324 (7th Cir., 2004).

      After reviewing the parties’ briefs, the Court has determined

that Defendants have failed to show any factual dispute concerning

the timing, the information known to the officers who effectuated

the stops, and the officers’ bases for the stops.            As a preliminary

matter, the Court notes that Defendants have not submitted sworn

affidavits in which they adopt a time line or affidavits of a

person with first-hand knowledge of the stops.              Based on its own

review of the evidence, the Court finds no factual issue in dispute

regarding the duration of the stops or the time line of the events

on March 12, 2007.     The Government does not dispute that the video

camera’s time stamp was inaccurate during the traffic stops.

Although the time stamp was incorrect, numerous other records

establish the time line. These records conclusively establish that


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the Voyager, driven by Smith, was stopped for speeding at 7:22 p.m.

At 7:35 p.m., Officer Hornyak called for a canine unit, which

arrived at the scene of the traffic stop at 7:44 p.m.             With respect

to the Pacifica, of which Harris was a passenger, law enforcement

records show that Agent Trevino conducted the stop for speeding at

7:35 p.m.       Officer Dugan was dispatched at 7:43 p.m. and arrived on

the scene at 7:48 p.m.

     Investigator        Rice’s    conclusions      about   inconsistencies    in

Officer Dugan’s affidavit do not establish a material issue of fact

requiring an evidentiary hearing.            With the exception of the time

stamp in the video camera, which the Government has established was

inaccurate,       all   of   the   various    law   enforcement   records      and

affidavits confirm the Government’s account of the time line of

events on March 12, 2007.            Rice’s conclusions (1) that Officer

Dugan turned his camera on before placing Harris and Inkton in the

backseat of his patrol car, rather than turning it on after placing

the subjects in the car; and (2) that the camera faced the front of

the vehicle, rather than facing the subjects in the backseat, do

not establish a dispute as to the time line or duration of the

traffic stop, nor do they present any other question of material

fact.   Defendants, therefore, have failed to meet their burden of

showing     a    disputed    issue   of   material    fact    required   for   an

evidentiary hearing.         See Villegas, 388 F.3d at 324.




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     Additionally, Defendants have not raised any other issue of

material fact requiring a hearing, nor have they showed that the

evidence obtained during the traffic stops should be suppressed

because their constitutional rights were violated.

     Law enforcement agents stopped both the Voyager and the

Pacifica for exceeding the posted speed limit.             Probable cause for

a traffic stop exists when a law enforcement officer “has an

objectively reasonable basis to believe a traffic law has been

violated.”     See U.S. v. Dowthard, 500 F.3d 567, 569 (7th Cir.,

2007).   During a traffic stop, a police officer can ask “questions

unrelated to the initial purpose of the stop, provided that those

questions do not unreasonably extend the amount of time that the

subject is delayed.”        U.S. v. Martin, 422 F.3d 597, 601-02 (7th

Cir., 2005). Information lawfully obtained during this questioning

“may provide the officer with reasonable suspicion of criminal

conduct that will justify prolonging the stop to permit reasonable

investigation.”     Id.    Whether reasonable suspicion exists depends

on a consideration of the totality of the circumstances known to

the officer at the time, including the officer’s experiences and

common sense.     U.S. v. Jackson, 300 F.3d 740, 745-46 (7th Cir.,

2002).

     When the Voyager was stopped, Officer Hornyak knew that law

enforcement suspected that the Voyager was transporting narcotics

from Chicago to Detroit.         Officer Hornyak asked Smith questions


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about the purposes and length of his trip and noted that Smith

appeared nervous and was providing inconsistent answers.                Based on

his   experience,    training,       and   knowledge,    Officer    Hornyak   had

reasonable suspicion of drug trafficking that warranted extending

the duration of the traffic stop to wait for the canine unit to

assist him with the stop.          See Martin, 422 F.3d at 601-02.       In all,

Smith was detained for approximately twenty minutes before the

canine unit arrived.        This brief delay was not unreasonable based

on the totality of the circumstances and the information known to

Officer Hornyak at the time of the stop.              See id. at 602 (twenty-

minute delay during a traffic stop warranted for a canine unit to

arrive when officer obtained conflicting statements, learned of

prior arrests, and obtained that another officer believed defendant

to be a drug trafficker); U.S. v. Carpenter, 406 F.3d 915, 916-17

(7th Cir., 2005) (five-minute delay waiting for a canine unit was

a “modest incremental delay for a person already lawfully arrested

cannot be called unreasonable”).            The canine’s alert to narcotics

provided probable cause necessary for law enforcement officers to

search the Voyager without a warrant.             Martin, 422 F.3d at 602;

U.S. v. Rogers, 387 F.3d 925, 934 n.9 (7th Cir., 2004).

      Likewise,     after    the    Pacifica    was     stopped    lawfully   for

speeding, the officers’ short detention and questioning of Harris

and Inkton was not improper.          See Martin, 422 F.3d at 601-02.         The

search of the Pacifica also met constitutional muster.                 Based on


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the   totality    of   the   circumstances,       including    the    officers’

knowledge   of   prior    surveillance     and   information     from   Officer

Hornyak that narcotics had been discovered in the Voyager, Agent

Trevino had probable cause to arrest Harris and to search the

Pacifica without a warrant.          See U.S. v. Marin, 761 F.2d 426, 430-

31 (7th Cir., 1985).

                              III.    CONCLUSION

      For the reasons stated herein, Defendants Smith and Harris

have not shown the Court that significant, disputed factual issues

must be resolved and warrant an evidentiary hearing.                 See Martin,

422 F.3d at 602-03; Villegas, 388 F.3d at 324.                Defendants also

have failed to meet their burden of establishing a prima facie case

that their Fourth Amendment rights were violated during the traffic

stops on March 12, 2007.       See Randle, 966 F.2d at 1212.         Therefore,

Defendants’ Motions to Suppress and their requests for a hearing

are denied.

IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

DATE: 6/4/2009




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